         Case:4:18-cv-01829-HSG
         Case  19-16483, 01/03/2022, ID: 12328542,
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                    UNITED STATES COURT OF APPEALS
                                                                     FILED
                           FOR THE NINTH CIRCUIT
                                                                     JAN 03 2022
                                                                    MOLLY C. DWYER, CLERK
                                                                     U.S. COURT OF APPEALS




 BRANDON HODGES,                                No. 19-16483

               Plaintiff - Appellee,
                                                D.C. No. 4:18-cv-01829-HSG
   v.                                           U.S. District Court for Northern
                                                California, Oakland
 COMCAST CABLE
 COMMUNICATIONS, LLC, a                         MANDATE
 Delaware limited liability company,

               Defendant - Appellant.


        The judgment of this Court, entered September 10, 2021, takes effect this

date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

                                                FOR THE COURT:

                                                MOLLY C. DWYER
                                                CLERK OF COURT

                                                By: Nixon Antonio Callejas Morales
                                                Deputy Clerk
                                                Ninth Circuit Rule 27-7
